234 F.2d 655
    UNITED STATES of America, Appellant,v.ONE FORD INTERCEPTOR AUTOMOBILE, 1954 Model, Motor No.P4NG113712 (Doris Mae Thomas, Route 6, Box 191,Greenville, N.C.), Claimant, Appellee.
    No. 7191.
    United States Court of Appeals Fourth Circuit.
    Argued June 8, 1956.Decided June 18, 1956.
    
      Julian T. Gaskill, U.S. Atty., Goldsboro, N.C., for appellant.
      T. Chandler Muse, Tarboro, N.C.  (Cameron S. Weeks, Tarboro, N.C., on the brief), for appellee.
      Before PARKER, Chief Judge, SOPER, Circuit Judge, and MOORE, District Judge.
      PER CURIAM.
    
    
      1
      This is an appeal from an order remitting the forfeiture of an automobile seized while being used in the transportation of illegal liquor in violation of the Internal Revenue laws.  The claimant was found by the court to be the owner of the automobile and to have had no knowledge or reason to believe that it was being used or would be used in violation of law.  We cannot say on the record before us that the findings of the District Judge were clearly wrong or that he abused his discretion in remitting the forfeiture.
    
    
      2
      Affirmed.
    
    